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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

    GERRY ARMBRUSTER,                                 )
                                                      )
                            Plaintiff,                )
                                                      )
    vs.                                               )   Case No. 3:16-CV-544-SMY-MAB
                                                      )
    BHARAT SHAH,                                      )
    LORETTA WILFORD,                                  )
    WEXFORD HEALTH SOURCES, INC.                      )
                                                      )
                            Defendants.               )


                              REPORT AND RECOMMENDATIONS

   BEATTY, Magistrate Judge:

          The matter has been referred to United States Magistrate Judge Mark A. Beatty by United

   States District Judge Staci M. Yandle pursuant to 28 U.S.C. § 636(b)(1)(B), Federal Rule of Civil

   Procedure 72(b), and SDIL-LR 72.1(a) for a Report and Recommendation on the Motion for

   Summary Judgment (Doc. 132). It is recommended that the District Court adopt the following

   findings of fact and conclusions of law, and the Motion for Summary Judgment (Doc. 132) be

   granted in part and denied in part.

                                         PROCEDURAL BACKGROUND

          In this lawsuit, Plaintiff Gerry Armbruster alleges that he suffered a spinal cord

   compression in May 2014 while he was incarcerated at Southwestern Illinois Correctional Center

   (“SWICC”) Defendants Dr. Bharat Shah, Nurse Loretta Wilford, and Wexford Health Sources,

   Inc., failed to properly diagnose and treat his condition prior to his release in September 2014. The

   Third Amended Complaint is the operative complaint in this matter, and the following claims

   remain pending:




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          Count 1:    Eighth Amendment claim for deliberate indifference to a serious
                      medical need against Defendants Wexford, Dr. Shah, and Nurse
                      Wilford;

          Count 2:    Eighth Amendment claim for failure to intervene against Defendants
                      Wexford, Dr. Shah, and Nurse Wilford;

          Count 3:    Medical negligence under Illinois state law against Wexford and Dr.
                      Shah; and

          Count 4:    Respondeat Superior against Wexford.

   (Doc. 123; see also ).

          Defendants filed a motion for summary judgment along with a 36-page memorandum and

   over 1,200 pages of exhibits on June 22, 2018 (Docs. 132, 133). Plaintiff filed his 58-page response

   in opposition to the motion for summary judgment along with over 1,300 pages of exhibits on

   August 8, 2018 (Doc. 157). Defendants then filed a twelve page reply (Doc. 162), as well as, a

   fourteen-page response to Plaintiff’s statement of material facts (Doc. 161).

                                        FACTUAL BACKGROUND

   A. The Parties

          Plaintiff Gerry Armbruster was a prisoner at SWICC from January 16, 2013 through

   September 15, 2014 (Doc. 133-1; Doc. 157-1). Wexford Health Sources, Inc. (Wexford) is a

   private medical care company that entered into a contract with the Illinois Department of

   Corrections (IDOC) in 2011 to provide medical care to prisoners in IDOC custody, including those

   at SWICC (Doc. 158-1). Defendant Dr. Bharat Shah was employed by Wexford as the Medical

   Director at SWICC (Doc. 133-2; Doc. 157-2). Defendant Loretta Wilford was employed by

   Wexford as a registered nurse at SWICC (Doc. 133-8; Doc. 157-3).




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   B. Spinal Cord Compression1

            The human spine is composed of bones called vertebrae stacked on top of one another

   (Doc. 157-9). The spine is divided into five sections: the cervical vertebrae in the neck, the thoracic

   vertebrae in the upper back; the lumbar vertebrae in the lower back; the sacrum in the pelvis, and

   the coccyx (Doc. 157-9; Doc. 157-10, p. 8; Doc. 157-12, pp. 8). In between the body of each

   vertebrae are discs, which are like jelly doughnuts that support the spine and act as shock absorbers

   (Doc. 157-10, p. 7; Doc. 157-12, p. 8). Toward the back of each vertebrae is a hollow passage that

   collectively form a tunnel called the spinal canal through which the spinal cord runs (Doc. 157-9;

   Doc. 157-12, pp. 8, 10). The spinal cord runs from the base of the brain down to the middle of the

   back, just below the rib cage (Doc. 157-10, p. 8; Doc. 157-12, pp. 8, 10). It is the body’s

   information super-highway, relaying messages between the brain and the body that allow people

   to move and feel sensation (Doc. 157-10, p. 9).

            Spinal cord compression is caused by any condition that puts pressure on the spinal cord

   (Doc. 157-9). Even slight compression of the spinal cord can “significantly affect the flow” of

   information traveling between the brain and other parts of the body (Doc. 157-10, p. 9; see also

   Doc. 157-9). Depending on the cause of the compression, symptoms may develop suddenly (acute)

   or gradually (chronic) (Doc. 157-9). For example, one of the most common causes of spinal cord



   1
     The information in this paragraph was primarily taken from the report of Plaintiff’s expert witness, Dr. Peter Brown
   (Doc. 157-9), the deposition of Defendants’ expert witnesses, Dr. Stephen Sanders and Dr. Frank Petkovich (Doc.
   157-11, Doc. 157-12), and the deposition of Plaintiff’s treating neurosurgeon, Dr. Gregory Bailey (Doc. 157-10). It
   was supplemented generally with information from the following websites:
   AM. ASS’N. OF NEUROLOGICAL SURGEONS, Anatomy of the Spine and Peripheral Nervous System,
   https://www.aans.org/en/Patients/Neurosurgical-Conditions-and-Treatments/Anatomy-of-the-Spine-and-Peripheral-
   Nervous-System (last visited July 19, 2019); JOHN HOPKINS MEDICINE, Spinal Cord Compression,
   https://www.hopkinsmedicine.org/health/conditions-and-diseases/spinal-cord-compression (last visited July 19,
   2019);      UNIV.         OF       ROCHESTER         MED.         CTR.,        Spinal        Cord        Compression,
   https://www.urmc.rochester.edu/encyclopedia/content.aspx?ContentTypeID=134&ContentID=13 (last visited July
   19, 2019).




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   compression is normal wear and tear on the spine. In this instance, the compression happens

   gradually, and it can take years to cause symptoms. Tumors or infections may cause symptoms

   that develop over days or weeks. And an injury to the spine, including a herniated disc, can cause

   immediate symptoms.

           The compression will affect the function of all the nerves that are level with or below the

   site of the compression (Doc. 157-9; Doc. 157-10, pp. 8, 9, 11). Common neurologic symptoms

   of spinal cord compression include pain, numbness, tingling, and/or weakness in the arms, hands,

   legs, or feet (Doc. 157-10, p. 8; Doc. 157-12, p. 12). When the compression is significant, the

   patient will likely have weakness that manifests as difficulty walking and loss of dexterity in their

   upper and lower extremities (Doc. 157-12, pp. 12, 20; Doc. 157-10, p. 8). A significant

   compression also causes damage to the spinal cord itself, known as “cord change” or “signal

   change” (Doc. 157-9; Doc. 157-10, pp. 6, 7, 13–14). If the compression is not promptly addressed,

   the cord change gets progressively worse and the damage may be irreversible (Doc. 157-10, p. 13;

   Doc. 157-12, p. 20).

           The only way to definitively diagnose spinal cord compression and determine its severity

   is with diagnostic imaging, such as an MRI (Doc. 157-3, p. 18; Doc. 157-9; Doc. 157-10, pp. 8, 9;

   Doc. 157-11, p. 11; Doc. 157-12, p. 17).2 If treatment is required for the spinal cord compression,

   the only appropriate treatment is surgical decompression (Doc. 157-9; Doc. 157-10, p. 8; Doc.

   157-11, p. 10; Doc. 157-12, p. 14).




   2
     A myelogram could also be used to diagnose spinal cord compression (Doc. 157-10, p. 8; Doc. 157-12, p. 17).
   However, Armbruster’s treating neurosurgeon Dr. Gregory Bailey said myelograms were used “in the old days before
   they had MRIs,” and MRIs are superior to the myelogram because the MRI shows the spinal cord itself (Doc. 157-10,
   p. 8).



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   C. The Onset of Armbruster’s Symptoms

          In May 2014, Armbruster suddenly began experiencing numbness, tingling, and pain in his

   right arm, hands, and fingers (Doc. 157-7 pp. 11–12). He testified that he remembered trying to

   write a letter and being unable to hold a pen because “it was stinging so bad and it was so difficult”

   (Id. at p. 12). He also remembered “having problems holding a cup” (Id. at p. 21).

          The nurse sick call calendar for May 13th shows that Armbruster asked to be seen for a

   “[self-reported] pinched nerve” (Doc. 157-13, p. 5). He saw Nurse Wilford and complained to her

   of “pain in the right shoulder blade, and my arms and fingers tingle, and it hurts all the time” (Doc.

   133-1, p. 230; Doc. 157-4, p. 37). He indicated the pain started three weeks earlier when he was

   picking up trays as part of his job detail in the prison. Nurse Wilford encouraged Armbruster to be

   more active and referred him to see Dr. Shah.

          The next day, Armbruster saw Dr. Shah for the first time about his neurological symptoms

   (Doc. 133-1, p. 231; Doc. 157-3, p. 55, 57, 59, 60–61). Dr. Shah documented, in pertinent part,

   that Armbruster complained of pain and tingling in his arms, numbness in his fingertips, and pain

   in his back and in his legs. Armbruster also reported he couldn’t grip with his right hand. Dr. Shah

   observed that Armbruster walked with back pain but was not in acute distress, which according to

   Dr. Shah meant he was not “writhing with pain . . . restless or fidgeting.”

          Dr. Shah examined Armbruster and documented that he had “full” range of movement in

   his cervical spine, meaning he moved his head up and down and side to side without pain or

   restriction (Doc. 133-1, p. 231; Doc. 157-3, p. 55, 57, 59, 60–61). He had “full” range of movement

   and no deformities in his lumbosacral spine. Armbruster had “no gross neurological deficit of

   arms.” The medical record itself does not indicate what this means, but Dr. Shah testified it meant

   Armbruster could feel the doctor touching him, could feel pinprick sensation, and there were no




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   spasms when his muscles were palpated. Dr. Shah documented Armbruster’s hand grip and range

   of motion were “full,” despite Armbruster’s complaint to the contrary. Dr. Shah also noted

   Armbruster had “full” range of movement in all joints, could do a straight leg raise to 90 degrees

   without pain,3 and had no spasms of paravertebral muscles, meaning the muscles along his spine

   in his back did not spasm when they were palpated.

            Dr. Shah’s assessment was that Armbruster had arthritis in his spine or a lumbar sprain

   (Doc. 133-1, p. 231; Doc. 157-3, pp. 55, 56, 58, 61, 62). Dr. Shah advised Armbruster to perform

   back and hand exercises and continued his pre-existing ibuprofen therapy. And because

   Armbruster’s blood pressure was slightly elevated, Dr. Shah ordered that Armbruster’s blood

   pressure be checked twice a day for one week. Dr. Shah testified that hypertension can cause

   symptoms of neuropathy so he wanted to determine whether hypertension was the cause of

   Armbruster’s condition. Dr. Shah further testified he did not believe Armbruster had “any

   significant problem,” including a spinal cord compression, because he did not detect any objective

   neurological deficits (Id. at pp. 58, 62).

            But all of the expert witnesses in this case agree that when a patient complains of numbness,

   tingling, and/or weakness in the upper or lower extremities, a physician should absolutely consider

   spinal cord compression as one of the possible causes of those symptoms. (Doc. 157-9; Doc. 157-

   10, p. 9; Doc. 157-11, p. 13; Doc. 157-12, p. 16). In other words, spinal cord compression should

   be considered as part of the differential diagnosis.

            All of the expert witnesses also agree that when a patient complains of numbness, tingling,

   and weakness in the upper and lower extremities, the standard of care requires a neurological exam



   3
     The straight leg test is used to determine whether a patient’s back pain is caused by a herniated disc in the lumbar
   region (Doc. 157-9, p. 6).




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   (Doc. 157-9; Doc. 157-11, p. 11; Doc. 157-12, p. 16). In this instance, based on Armbruster’s

   complaints, the neurological exam should have, at a minimum, tested sensation to pinprick and

   touch; checked deep tendon reflexes in both upper and lower extremities (including at the elbows,

   wrists, knee, and Achilles tendon); and tested muscle strength and coordination in the upper and

   lower extremities (Doc. 157-9; Doc. 157-11, pp. 13–14; Doc. 157-12, pp. 15–17). To test the

   strength in the patient’s arms, the doctor should have the patient flex their bicep and extend their

   tricep, test the patient’s strength against resistance, and test their grip strength (Doc. 157-12, pp.

   15–17; see also Doc. 157-11, p. 13). For the legs, the doctor should observe the patient walk, have

   the patient stand on their toes and then their heels, and test their strength against resistance (Doc.

   157-12, pp. 15–17; see also Doc. 157-11, p. 13).

           Armbruster’s expert witness, Dr. Peter Brown, opined that the neurological exam Dr. Shah

   conducted on May 14th was “woefully insufficient” (Doc. 157-9). For example, there is no

   indication in the medical records that he tested Armbruster’s deep tendon reflexes or his sensation

   (see Doc. 133-1, p. 231). Aside from a notation that Armbruster’s grip strength was “full,”4 there

   is no indication Dr. Shah assessed the strength or coordination of Armbruster’s arms or legs (see

   id.). Additionally, Dr. Brown explained, and other experts agreed, that many of Dr. Shah’s

   findings—such as the full range of motion in Armbruster’s cervical spine, lumbar spine, and his

   joints, the negative straight leg test, and the presence or absence of vertebral muscle spasms—did

   nothing to rule in or rule out spinal cord compression as the cause of Armbruster’s symptoms (Doc.

   157-9; see also Doc. 157-12, p. 17; Doc. 157-11, p. 15).

           According to Dr. Brown, “the combination of upper and lower extremity symptoms,” that




   4
     According to Dr. Brown, “full” is not a phrase typically used in the medical community to reflect the outcome of a
   test regarding grip strength (Doc. 157-9, p. 5).



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   Armbruster was experiencing "would indicate spinal cord compression unless otherwise proven”

   (Doc. 157-9, p. 5). Given Armbruster’s reported symptoms and abrupt onset, Dr. Brown is of the

   opinion that Armbruster was likely suffering from a spinal cord compression on May 14, 2014

   (Doc. 157-9). Dr. Brown further opined that “any minimally competent physician exercising

   medical judgment would have referred Mr. Armbruster to a neurologist/neurosurgeon, obtained an

   MRI, or referred to the emergency room for a neurological work up.” (Doc. 157-9).

   D. Armbruster’s Continued Complaints and Ensuing Medical Care

          For one week following his appointment on May 14th with Dr. Shah, the nursing staff

   checked Armbruster’s blood pressure twice a day (see Doc. 133-1, pp. 232–36). Armbruster says

   he complained every time about the progressively increasing numbness, tingling, and pain that he

   was suffering in his shoulders, fingers, and arms (Doc. 157-7 at pp. 14–15). But none of the nurses

   who checked his blood pressure, including Nurse Wilford, documented any such complaints, with

   one exception: on May 20th, Nurse Phyllis Maston noted that Armbruster said, “My fingers on my

   right hand are numb. My right side tingles down to my waist. I have little grip on my right hand.

   My left side tingles to waist. My knees hurt. I can b[are]ly walk” (Doc. 133-1, pp. 234-235; see

   also id. at pp. 232, 233, 236). Nurse Maston also noted that Armbruster had a “cumbersome walk,

   stance, gait” and walked slightly bent over (Id. at 234–35). She also noted he was scheduled for a

   follow-up appointment with Dr. Shah on May 28th in the Hypertension Chronic Clinic (Id.).

          The nurse sick call calendar for May 28th indicates Armbruster asked to be seen because

   he “[couldn’t] walk very good” (Doc. 157-13, p. 8). He was seen by Nurse Maston on May 28th

   at 8:15 a.m. (Doc. 133-1, p. 238). She noted Armbruster reported tingling and numbness in the

   fingertips of both of his hands, no grip in his right hand, and that he could “barely walk.”

   Armbruster told Nurse Maston the pain “happened spontaneously” and his symptoms had been




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   progressively getting worse over the past month. He could not pick up his two-year-old daughter

   with his right arm, and he was having difficulty taking a shower and putting on clothes. Nurse

   Maston observed Armbruster having difficulty walking and noted his report of very “sharp pain in

   lower back all the way across [his] back.” Nurse Maston also personally observed that it took

   Armbruster five minutes to print and sign his name. She referred Armbruster to see Dr. Shah due

   to “difficulty walking, numbness, [and] severe pain.”

            Approximately an hour later, Armbruster was seen in the Hypertension Chronic Clinic

   (Doc. 133-1, pp. 236, 239–40). Nurse Maston took Armbruster’s vital signs, and she once again

   noted “Difficulty walking. Numbness and tingling in fingers. No grip in [right] hand.” Dr. Shah

   testified he would have reviewed the nursing staff’s previous notes, which presumably included

   all of Nurse Maston’s notes (Doc. 157-3, p. 66). Dr. Shah documented, in pertinent part, that

   Armbruster reported “vague” low back pain, groin pain, tingling and numbness (Doc. 133-1, pp.

   239–40; Doc. 157-3, pp. 62–64, 65). 5 Dr. Shah documented that the neurological exam was

   “nonfocal,” which he testified meant “no evidence of any focal abnormality” (Doc. 133-1, pp.

   239–40; Doc. 157-3, pp. 62–64, 65).6

            There is no indication or explanation in the medical records of what Dr. Shah did as part

   of the neurological exam. (Doc. 133-1, pp. 239–40; Doc. 157-3, pp. 62–64, 65). According to



   5
     It is unclear what is meant by the word “vague.” Dr. Shah testified at his deposition that “vague low back pain”
   meant Armbruster “just said some pain.” (Doc. 157-3, p. 63). Counsel then asked “so it is the same as mild then” and
   Dr. Shah responded “yes” (Id.). However, Dr. Shah testified later in his deposition that when he wrote “vague” it was
   in reference to the patient’s description of his symptoms, meaning the patient gave a vague description regarding the
   nature, intensity, and location of his pain, as opposed to a more detailed description (Id.at p. 65).
   6
     A focal neurologic deficit is a problem with nerve, spinal cord, or brain function. U.S. NATIONAL LIBRARY OF
   MEDICINE, MEDLINE PLUS, Focal Neurologic Deficits, https://medlineplus.gov/ency/article/003191.htm (last visited
   July 19, 2019). It affects a specific location, such as the left side of the face, right arm, or even a small area such as
   the tongue. Id. Examples of focal neurologic problem include weakness, loss of muscle control or tone, involuntary
   movements, numbness, and loss of coordination or fine motor control. Id. Speech, vision, and hearing problems are
   considered focal neurological deficits. Id. In contrast, a “nonfocal” problem is not specific to a certain area of the
   brain. Id. It may include a general loss of consciousness or an emotional problem. Id.



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   Plaintiff’s expert Dr. Brown, this in and of itself falls below the standard of care (Doc. 157-9). Dr.

   Brown explained that all physicians are trained on the importance of documentation because

   “adequate documentation . . . allows the physician to reflect on his thinking during an earlier

   encounter with the patient and provide continuity of care, and allows another physician who sees

   the patient to know what has occurred earlier in time.” (Id. at p. 8). Dr. Brown further explained

   that describing the results of a neurological exam as “nonfocal” is not language used by primary

   care practitioners or any member of the medical profession (Id.). Significantly, it is not a term used

   to denote a normal neurological exam (Id.). Consequently, without an explanation of what

   neurological exam was performed and what findings were reached, Dr. Shah’s note that the

   neurological exam was “nonfocal” has no real meaning (Id.).

          Dr. Shah prescribed Armbruster blood pressure medications and an increased dosage of

   ibuprofen (Doc. 133-1, pp. 239–40; Doc. 157-3, pp. 62–64, 65). Dr. Shah also ordered the routine

   blood and urine tests and the EKG required for every first-time patient in the Hypertension Chronic

   Clinic. However, Armbruster’s expert opined that the information contained in Nurse Maston’s

   notes “would have led any minimally competent physician with Dr. Shah’s training and

   background to know that a prompt referral to a neurologist/neurosurgeon, . . . an MRI, or referral

   to the emergency department was required in order to address the persistent neurological

   symptoms” (Doc. 157-9, p. 7). Prompt action was required because of the severe risk of harm faced

   by patients reporting the symptoms that Armbruster did, including paralysis and irreversibly

   impaired neural functioning (Id.).

          Armbruster saw Dr. Shah on June 3, 2014, to follow up on his test results (Doc. 133-1, p.

   242; Doc. 157-3, pp. 61, 65–66). Nurse Wilford took Armbruster’s vital signs but did not document

   any other notes. Dr. Shah documented that Armbruster complained of “vague body ache.”




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   Armbruster also told Dr. Shah that ibuprofen was not helping his symptoms. Dr. Shah once again

   noted without explanation that the neurological exam was “nonfocal.” Dr. Shah’s assessment was

   “hypertension, borderline diabetes mellitus.” He switched Armbruster’s prescription for ibuprofen

   to Naprosyn, and he also ordered a lab test to rule out diabetes based on Armbruster’s elevated

   blood sugar level reading. A well-known complication of diabetes is peripheral neuropathy,

   including tingling and numbness in the hands and feet (Doc. 133-7, p. 12).

          Nurse Wilford drew Armbruster’s blood for the lab test on June 5th (Doc. 133-1, p. 243).

   She did not document any notes from the encounter other than to say it occurred (see id.).

   Armbruster followed-up with Dr. Shah regarding the diabetes test on June 17, 2014 (Doc. 133-1,

   p. 243; Doc. 157-3, pp. 66–67; Doc. 157-4, p. 41). Nurse Wilford took Armbruster’s vital signs

   but did not document any other notes. Dr. Shah noted that Armbruster continued to complain of

   “vague tingling and numbness,” backache, and knee pains. The only indication of that a neurologic

   exam was performed is Dr. Shah’s note that “range of movement slightly painful.” Dr. Shah also

   noted that Armbruster was “argumentative” and “said he did not get help and wants to go out to

   hospital outside for help” (Doc. 133-1, p. 243; Doc. 157-3, pp. 66–67).

          Armbruster explained “[t]here came a time where I was so pissed off because I need his

   help and he wouldn’t do nothing. . . . I had no idea what was the matter with me. None. . . . All I

   knew is I couldn’t walk right. My hands and elbows and wrists and shoulder blade, everything was

   jacked up. I don’t know what he was supposed to do, but he sure didn’t do anything.” (Doc. 157-

   7, p. 20). Armbruster testified he remembers telling the doctor he was unable to clean himself

   properly after going to the bathroom and that he had to crawl to the shower (Id. at p. 33). He also

   testified his condition was obvious and “anybody [who was] blind could have seen how bad I was

   and send me to the hospital” (Id. at p. 33, 34). He said he walked hunched over and his right leg




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   would drag as he walked (Id. at p. 33, 40). In fact, his right leg dragged so badly that he tore a hole

   in his shoe (Id. at p. 33). He said he knew something was wrong and he begged for help, to no

   avail (Id.).

           Dr. Shah’s assessment of Armbruster on June 17th was “history of gunshot wound both

   legs, hypertension controlled, vague complaints of numbness, no evidence of metabolic disorder,”

   meaning diabetes was ruled out (Doc. 133-1, p. 243; Doc. 157-3, pp. 66–67). He continued the

   Naprosyn and ordered an x-ray of both knees in order “to make sure there was nothing significant

   going on besides arthritis.” However, he acknowledged at his deposition the x-ray of Armbruster’s

   knees would provide no information as to what was causing the tingling (Doc. 157-3, p. 261-62).

           The nurse sick call calendar for June 20, 2014, indicates Armbruster asked to be seen for

   pain in his fingertips and because his “balance is off” (Doc. 157-13, p. 9). The medical record from

   the June 20th sick call visit with Nurse Wilford, however, states that Armbruster simply asked to

   get his prescription for indigestion renewed (Doc. 133-1, p. 245). There are no notes about any

   neurological symptoms (Id.). Armbruster was referred to Dr. Shah, whom he saw three days later

   on June 23, 2014 (Doc. 133-1, p. 246; Doc. 157-3, pp. 67–68). Dr. Shah documented that

   Armbruster was being seen to have his prescription for indigestion renewed. He also documented,

   in pertinent part, “Patient feels better. Minimal numbness of tip of fingers. [Blood pressure]

   controlled.” Dr. Shah also wrote “no neurologic deficit,” but there’s no indication of what he did

   to assess Armbruster in order to reach that conclusion. He also documented that Armbruster had

   mild pain in his right knee with movement. Dr. Shah reviewed the results of the x-rays taken of

   Armbruster’s knees with him. Dr. Shah’s assessment was that Armbruster had arthritis in his right

   knee, self-reported numbness in his fingers, and chronic indigestion. The only treatment prescribed

   was medication for his indigestion.




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           For his part, Armbruster testified that his symptoms were constant but there were some

   days where they were more tolerable than others (Doc. 157-7, pp. 21–22). “What I remember is

   there was no coming and going. It was on every day. It just kept getting worse. . . . It was constant

   all the time. It was pure hell.” (Id.).

           Approximately one week later, on July 2, 2014, Armbruster saw Dr. Shah again (Doc. 133-

   1, p. 247; Doc. 157-3, p. 69). The doctor wrote that Armbruster “continues to complain of

   numbness and pain of the fingers without any other symptoms.” Dr. Shah documented that

   Armbruster had “no gross neurological disease or deficit,” full range of motion in his cervical

   spine, and full range of motion in his knees with mild pain. Dr. Shah’s assessment was that

   Armbruster had posttraumatic arthritis in his knees, no neurological deficits, and self-reported

   numbness and pain in his hands and fingers. He wrote “patient has been told there’s no

   neurological deficit for the symptoms of vague numbness and pain on the tips of his fingers.”

           Even though Dr. Shah acknowledged that tingling, numbness, difficulty walking are

   neurological symptoms of spinal cord compression (Doc. 157-3, pp. 10, 11), he testified he never

   considered spinal cord compression as the cause of Armbruster’s symptoms because he did not

   detect any objective neurological deficits (Id. at pp. 58, 62, 70, 76). He testified that as of July 2nd,

   he suspected Armbruster’s symptoms were caused by neuropathy or arthritis (Id. at p. 69). Despite

   this suspicion, Dr. Shah took no action to address the neurological issue or refer Armbruster for

   an evaluation by a specialist or diagnostic testing (see Doc. 133-1, p. 247). In fact, Dr. Shah

   provided no further treatment for Armbruster on that day and simply instructed him to follow-up

   as needed (Id.).

           Armbruster was scheduled for a follow-up appointment on August 1, 2014 (Doc. 133-1, p.

   248). The notes from that appointment, which were written by Nurse Wilford, simply say, “no




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   need to be seen by M.D. To be seen [as needed] as written on June 23, 2014” (Id.). Nurse Wilford

   testified at her deposition that when Armbruster showed up to the Healthcare Unit for his

   appointment, she looked through his chart to figure out what was being followed up on (Doc. 157-

   4, p. 43). She saw that the doctor had not ordered a follow-up appointment, and she therefore

   determined that the appointment must have been scheduled by mistake (Id.). Consequently,

   Armbruster was not seen that day (Id.).

          Armbruster was seen in the Hypertension Clinic on August 7, 2014 (Doc. 133-1, pp. 248,

   258–59; Doc. 157-3, p. 71). Nothing was documented by the nurse or Dr. Shah about complaints

   from Armbruster relating to his neurological symptoms (see id.).

          The nurse sick call calendar for September 4th indicates Armbruster requested to be seen

   because he “need[ed] new meds” (Doc. 157-13, p. 10). He was seen by Nurse Maston and she

   documented that Armbruster needed to renew his prescription for Naprosyn (Doc. 133-1, p. 250).

   She also noted he reported throbbing pain in his back that he rated as a 10 (Id.). She indicated he

   had no swelling, no bulging, and no tenderness; there were no signs of obvious discomfort; and

   his back was “WNL,” meaning “within normal limits” (Id.). He was referred to see Dr. Shah (Id.).

          Armbruster was called to see Dr. Shah on September 9th (Doc. 133-1, p. 251). Nurse

   Wilford took his vital signs but did not document any other notes. Nurse Maston then documented

   that Armbruster said he was scheduled to be released from prison in six days so he did not need to

   be seen by the doctor. He signed a Medical Services Refusal form and left the Healthcare Unit

   (Doc. 133-1, p. 373). There are no notes in the medical record regarding any neurological

   symptoms (see Doc. 133-1, p. 251).

   E. Armbruster’s Release from SWICC

          Armbruster was released from prison on September 15, 2014 (Doc. 157-7, p. 23).




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   Armbruster testified his symptoms had not abated by the time he was released. In fact, he said “I

   barely made it to the vehicle when I walked out of Southwestern. My mom had to help me.” (Id.).

   Eleven days after his release from SWICC—once he got his insurance card— Armbruster went to

   the emergency department at Gateway Regional Medical Center in Granite City, Illinois at

   approximately 9:30 a.m. to seek treatment for his ongoing neurological symptoms (Doc. 133-7, p.

   23; Doc. 133-14, p. 18). He reported pain in his lower back, that his finger tips were “on fire, sting,

   and tingle,” and that his equilibrium was off (Doc. 133-14, p. 18). He stated his symptoms had

   been ongoing since May (Id.). Armbruster had an MRI at Gateway, which showed “very

   significant” spinal cord compression and significant signal change at the C5-C6 level of the

   cervical spine (Id. at p. 3; Doc. 133-15, p. 3; Doc. 157-10, p. 5, 13).

          He was immediately referred to Dr. Gregory Bailey, a neurosurgeon, and taken by

   ambulance to St. Mary’s Hospital in St. Louis, Missouri (Doc. 157-7, p. 24; Doc. 157-14, pp. 20–

   21; Doc. 157-15, pp. 5–6). Dr. Bailey noted Armbruster reported he had been having issues for

   months with his hand, a burning sensation, aching, “spongy” legs, and difficulty walking (Doc.

   157-15, p. 3). Dr. Bailey further noted that on physical examination, Armbruster had “weakness

   of triceps and significant weakness of intrinsic function, weakness of lower extremities, proximal,

   hyperreflexia” (Id.). Dr. Bailey determined that emergency spinal decompression surgery was

   necessary because of the severity of the compression (Doc. 157-10, p. 13). “When you have that

   degree of compression of the spinal cord, the longer you wait, the more damage you’re going to

   have to the spinal cord that’s over time irreversible” (Id.). By approximately 8:15 p.m. on

   September 26—less than twelve hours after he went to the emergency department at Gateway—

   Armbruster was undergoing emergency surgery (Doc. 157-14, pp. 20–21; Doc. 157-15, pp. 5–6).

          An MRI taken six months post-surgery showed persistent spinal cord damage, “which may




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   or may not improve” (Doc. 157-10, pp. 22–23). According to Dr. Bailey, the spinal cord can heal

   for up to two years, but there is usually no additional improvement after two years (Id.). At his

   deposition on October 24, 2017, which was approximately three years post-surgery, Armbruster

   testified he continues to have pain in his fingertips and the same tingling and numbness he had

   prior to surgery, but it is not as intense (Doc. 157-7, pp. 25, 30, 32). He also testified he continues

   to have impaired functioning on his right side, which he said “doesn’t want to work sometimes

   still to this day. So like if I get in a hurry or I’m excited and I try to run, that doesn’t go very well

   for me.” (Id. at p. 30).

   F. Nurse Wilford

           Nurse Wilford testified at her deposition that she independently recalled Armbruster

   because “he would come to sick call and complain of numbness and tingling in his arm, and he did

   it frequently,” meaning “once a week at least” (Doc. 157-4, pp. 4, 5). She also said Armbruster

   “complained to anybody that would listen to him about his arm and his hand, and he didn't want

   to come to sick call because he didn't want to pay the price.” (Id. at p. 5). She later added, “some

   of those guys would wear the hell out of you. Those are the ones that would stick in your mind,

   and he was one of them.” (Id. at pp. 6–7). She also mentioned another man who had skin problems

   as one of the inmates that “wear the hell out of you.” (Id. at p. 7).

           When pressed as to how many times Armbruster complained to her about his symptoms,

   she responded “on a regular basis . . . I feel that it’s safe to say at least once a week” (Id. at p. 5).

   She indicated that sometimes it was at sick call and other times it was when he encountered her

   elsewhere at the prison, for example, in the lunch line or walking to and from his dorm (Id. at pp.

   5, 6). Nurse Wilford did not document the times Armbruster complained to her in an informal,

   non-medical setting, such as in the lunch line (Doc. 157-4, p. 6). All she did was tell him to fill out




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   a sick call request (Id.).

           The medical records demonstrate, and Nurse Wilford confirmed, that she encountered

   Armbruster in a medical setting on ten occasions between May 13 and September 9, 2014. (see

   Doc. 133-1, pp. 230, 232, 233, 242, 243, 245, 246, 248; see also Doc. 157-4, pp. 37–38). She saw

   him at sick call on May 13, 2014; she took his blood pressure on May 16th and May 18th; she took

   his vital signs at his appointment with Dr. Shah on June 3rd; she drew his blood for lab tests on

   June 5th; she took his vital signs at his appointment with Dr. Shah on June 17th; she saw him at

   sick call on June 20th; and she took his vital signs at his appointment with Dr. Shah on June 23rd;

   she saw him when he reported to the Healthcare Unit on August 1; and she took his vital signs at

   his appointment on September 9th. Aside from the May 13th sick call, Nurse Wilford did not

   document any complaints from Armbruster regarding pain, numbness, and weakness in his upper

   and lower extremities (see Doc. 133-1, pp. 230, 232, 233, 242, 243, 245, 246).

           After she had a chance to review the medical records at her deposition, Nurse Wilford

   stated that, based on her notes in the medical records, Armbruster must not have complained to

   her about pain, numbness, or weakness in his extremities during their medical encounters

   following the May 13th sick call (Doc. 157-4, pp. 40–42). She further stated that if he had

   complained about those symptoms, she would have written it down because those symptoms are

   cause for concern and “something you don’t just brush off” (Id. at p. 40). When questioned as to

   whether she asked Armbruster about his symptoms at these medical encounters, she answered no,

   “because that didn’t stand out in my mind . . . [b]ecause he didn’t stand out in my mind” (Doc. Id.

   at pp. 40, 42).

           Plaintiff’s counsel pointed out that these statements were not consistent with her previous

   testimony that she remembered Armbruster because he complained relentlessly to the medical staff




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   about his symptoms (Doc. 157-4, p. 42). Nurse Wilford rationalized that Armbruster must “have

   started complaining later,” as in sometime in July or August, because she “just [could not] see [the

   nurses] listening to somebody all the time and not writing down or trying to do anything about it”

   (Id.). After further reflection, she theorized that during her previous testimony she was trying to

   compare Armbruster to the man with the skin problems—as in, the man with the skin problems

   stood out to her because he complained a lot, while Armbruster did not stand out to her because

   he did not complain a lot (Id. at pp. 44, 47, 52). She stated that she got the two men mixed up; it

   was the man with the skin problems who complained incessantly and she did not remember

   Armbruster complaining a lot (Id. at 44, 47, 52).

          Nurse Wilford testified that it is an emergency when a patient is suffering severe spinal

   cord compression with cord change, and complaining of pain, numbness, tingling, weakness, and

   difficulty walking (Doc. 157-4, p. 32). She stated that the appropriate treatment is to put a cervical

   collar on the patient and put the patient on a backboard in order to limit their movement, and send

   the patient to the nearest emergency room (Id. at pp. 32, 33).

   G. Wexford Staffing and Policies

          Each IDOC facility has a physician who is designated as the on-site medical director. The

   on-site medical directors are supervised by the regional medical director (Doc. 157-6, p. 4). When

   the facility has only one physician, that physician also functions as the medical director (see id. at

   pp. 53–54). That was the case with Dr. Shah at SWICC; he was the sole physician at the facility

   and therefore the medical director as well (see id. at pp. 53, 56).

          The contract between the IDOC and Wexford states that the on-site medical director at

   each facility is the “medical authority” and is responsible for “direct[ing] and control[ling] all

   clinical aspects of the medical and mental health program.” (Doc. 158-1). In its Operations Policies




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   and Procedures manual, Wexford similarly designated the on-site Medical Director at each facility

   as the “Responsible Health Authority” and indicated that the medical director is “responsible for

   making and reviewing all medical/clinical decisions” (Doc. 157-22).

            When it comes to referring an inmate to an off-site medical facility, physician, or specialist,

   the decision is left to the discretion of the treating practitioner (Doc. 157-6, p. 25). Wexford’s

   Medical Policies and Procedures Manual offers the practitioners some guidance in terms of making

   that type of decision (Id. at p. 25). Wexford also provides training, ongoing education, and

   opportunities for discussion with on-site medical directors regarding what is medically necessary

   in the correctional healthcare environment (Id. at pp. 33–34). “But by and large,” the decision of

   whether to refer a patient to an outside provider is made by the treating practitioner on a case-by-

   case basis based upon the clinical presentation of the patient and medical necessity (Id. at p. 25).

   There is no written policy that constrains or limits the ability of the treating practitioner to request

   a referral (Id. at p. 27).

            If the practitioner decides an off-site referral is needed, that decision must undergo further

   review (Doc. 157-6, p. 16). In facilities with more than one practitioner, the medical director must

   review all referral requests (Id. at p. 53; Doc. 157-23).7 If the medical director agrees with the

   referral request, then it is forwarded to the Utilization Management group (also known as the

   collegial review process), which is a group of Wexford physicians tasked with managing off-site

   services for appropriate utilization and cost effectiveness (Doc. 157-6, pp. 33, 53). Only if the

   referral request is approved by Utilization Management is an off-site appointment arranged for the

   patient (Doc. 157-23). When there is only one doctor at a facility, as was the case with Dr. Shah


   7
     Armbruster cites to pages P000582 and P000714 of the contract between the IDOC and Wexford for the proposition
   that “The contract expressly delegated final decision making authority to refer or deny a consultation request for
   specialist evaluation or treatment to the site medical director” (Doc. 157, p. 22, ¶ 70). However, those pages of the
   contract were not produced to the Court (see Doc. 158-1).



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   at SWICC, his referral requests were sent straight to Utilization Management (see Doc. 157-6, pp.

   55–56).

          On the other hand, if the medical director decides that no off-site referral is needed,

   Wexford does not review or audit those decisions (Doc. 157-6, p. 56). The only recourse an inmate

   has is to put in another sick call request and ask to be seen again, or to file a grievance, which

   would be reviewed by the Healthcare Unit Administrator and “probably discussed with the

   practitioner” (Id. at p. 55). If any of the healthcare staff, such as the nurses or Healthcare Unit

   Administrator, were concerned about the course of treatment, they could contact the Regional

   Medical Director (Id. at p. 59).

                                           LEGAL STANDARD

          Summary judgment is proper when the moving party “shows that there is no genuine issue

   as to any material fact and the movant is entitled to judgment as a matter of law. FED. R. CIV. P.

   56(a). “Factual disputes are genuine only if there is sufficient evidence for a reasonable jury to

   return a verdict in favor of the non-moving party on the evidence presented, and they are material

   only if their resolution might change the suit’s outcome under the governing law.” Maniscalco v.

   Simon, 712 F.3d 1139, 1143 (7th Cir. 2013) (citation and internal quotation marks omitted).

          In deciding a motion for summary judgment, the court’s role is not to determine the truth

   of the matter, but instead to determine whether there is a genuine issue of material fact. Anderson

   v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); Doe v. R.R. Donnelley & Sons Co., 42 F.3d 439,

   443 (7th Cir.1994). The court may not “choose between competing inferences or balance the

   relative weight of conflicting evidence.” Hansen v. Fincantieri Marine Grp., LLC, 763 F.3d 832,

   836 (7th Cir. 2014) (citations omitted). Instead, “it must view all the evidence in the record in the

   light most favorable to the non-moving party and resolve all factual disputes in favor of the non-




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   moving party.” Id. “Only if the court can say, on that sympathetic reading of the record, that no

   finder of fact could reasonably rule in the unsuccessful movant's favor may the court properly enter

   summary judgment against that movant.” Hotel 71 Mezz Lender LLC v. Nat'l Ret. Fund, 778 F.3d

   593, 603 (7th Cir. 2015).

                                                ANALYSIS

   A. STATUTE OF LIMITATIONS AS TO WEXFORD AND LORETTA WILFORD

          Defendants Wexford and Nurse Wilford first argue that all claims against them should be

   dismissed because they are time-barred (Doc. 133, p. 17).

          The statute of limitations for Armbruster’s § 1983 claims and the medical malpractice

   claims is two years. E.g., Turley v. Rednour, 729 F.3d 645, 651 (7th Cir. 2013); 735 ILL. COMP.

   STAT. 5/13-212. Because the ongoing denial of medical care alleged by Armbruster constitutes a

   continuing violation, the statute of limitations would normally begin to run on the date he was

   released from prison when he was no longer under Dr. Shah’s care, which was September 15, 2014

   (Doc. 133, p. 17; Doc. 157, p. 25). See Turley, 729 F.3d at 651 (“For continuing Eighth

   Amendment violations, the two-year period starts to run (that is, the cause of action accrues) from

   the date of the last incidence of that violation, not the first.”) (citation omitted); Cesal v. Moats,

   851 F.3d 714, 722 (7th Cir. 2017) (holding statute of limitations for claim regarding ongoing denial

   of medical care began to run when prisoner was transferred to a different prison); Jones v. Dettro,

   720 N.E.2d 343, 346 (Ill. App. Ct. 1999) (“The continuous-course-of-negligent-treatment rule

   extends the statute of limitations . . . . Once a physician's treatment is discontinued, the statutory

   period begins to run.”) (citing Cunningham v. Huffman, 609 N.E.2d 321, 325 (Ill. 1993)).

          However, as Armbruster pointed out (Doc. 157), Defendants failed to take into account

   that the statute of limitations is tolled while a prisoner exhausts the administrative grievance




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   process as required by the Prison Litigation Reform Act, 28 U.S.C. § 1997e(a) (see Docs. 133,

   162). Turley, 729 F.3d at 651.8 Armbruster put forth evidence that he filed a grievance prior to his

   release from SWICC and that grievance was not fully exhausted until the ARB responded on

   November 5, 2014 (Doc. 157-20; see also Doc. 80). Thus, the statute of limitations on his § 1983

   claims did not begin to run until November 5, 2014, and it did not expire until two years later on

   November 5, 2016. Armbruster’s original complaint and his First Amended Complaint were

   respectively filed in May 2016 and October 2016 (Doc. 1; Doc. 33)—well before the expiration of

   the limitations period. Consequently, Armbruster’s claims against Wexford and Nurse Wilford are

   not untimely. The portion of the motion for summary judgment pertaining to the statute of

   limitations is denied.

   B. DELIBERATE INDIFFERENCE AGAINST DR. SHAH, NURSE WILFORD, AND WEXFORD (COUNT
      1)

            “It is well established that persons in criminal custody are entirely dependent on the state

   for their medical care.” Mitchell v. Kallas, 895 F.3d 492, 496 (7th Cir. 2018) (citing Estelle v.

   Gamble, 429 U.S. 97, 103 (1976)). The Supreme Court has thus recognized that the Eighth

   Amendment’s proscription against cruel and unusual punishment creates an obligation for prison

   officials to provide inmates with adequate medical care. Gabb v. Wexford Health Sources, Inc.,

   No. 18-2351, 2019 WL 2498640, at *3 (7th Cir. June 17, 2019) (citing Estelle, 429 U.S. at 102–

   03); Minix v. Canarecci, 597 F.3d 824, 830 (7th Cir. 2010) (citing Farmer v. Brennan, 511 U.S.

   825, 832, (1994)). In order to prevail on an Eighth Amendment claim for deliberate indifference,



   8
     In the previous briefing and Order on the issue of exhaustion, the parties assumed without discussion that the
   exhaustion requirement of 28 U.S.C. § 1997e(a) applied to Armbruster’s § 1983 claims as well as his state-law claims
   for medical malpractice (see Docs. 50, 51, 59). The Court followed suit in its Order denying the motion for summary
   judgment on the issue of exhaustion (Doc. 80). Armbruster has once again made the same assumption in responding
   to Defendants’ argument regarding the statute of limitations (Doc. 157). Defendants raise no issue with Armbruster’s
   assumption in their reply brief (see Doc. 162). In fact, their reply brief makes absolutely no mention of the statute of
   limitations issue in any capacity (see Doc. 162).



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   the plaintiff must demonstrate he suffered from an objectively serious medical condition and that

   the “prison officials acted with a sufficiently culpable state of mind,” namely deliberate

   indifference. E.g., Holloway v. Delaware Cty. Sheriff, 700 F.3d 1063, 1073 (7th Cir. 2012)

          1. Serious Medical Need

          Defendants first argue they are entitled to summary judgment because Armbruster was not

   suffering from a serious medical need while he was incarcerated at SWICC. (Doc. 133, pp. 21–24;

   Doc. 162, pp. 1–2). The Court, however, is wholly unconvinced by their argument.

          “An objectively serious medical condition is one that has been diagnosed by a physician

   as mandating treatment or one that is so obvious that even a lay person would perceive the need

   for a doctor's attention.” Gayton v. McCoy, 593 F.3d 610, 620 (7th Cir. 2010). Importantly, “[a]

   medical condition need not be life-threatening to be serious.” Id. It can be a condition that

   “significantly affects an individual's daily activities” or a condition that would result in further

   significant injury or chronic and substantial pain if left untreated. Hayes v. Snyder, 546 F.3d 516,

   522–23 (7th Cir. 2008).

          Here, Armbruster has come forward with sufficient evidence that he was suffering from an

   objectively serious medical condition while incarcerated at SWICC. The medical records

   demonstrate Armbruster complained of pain and tingling in his arms, numbness in his fingers, and

   pain in his back and legs. He also complained he had no grip in his right hand, and Nurse Maston

   documented that she personally observed it took Armbruster five minutes to print and sign his

   name. He complained that he was having trouble walking, which was also corroborated by Dr.

   Shah and Nurse Maston’s personal observations. Armbruster also complained he was having

   trouble with basic tasks like picking up his daughter, taking a shower, putting on clothes, and

   wiping himself after using the bathroom. Armbruster testified his symptoms began in May 2014




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   and continued through his release on September 15, 2014. Furthermore, Armbruster’s expert

   witness, Dr. Peter Brown, opined that as of May 14, 2014, Armbruster was likely suffering from

   a spinal cord compression.

          There is no question a spinal cord compression accompanied by neurological symptoms,

   such as pain, numbness, and weakness in the arms and legs, is a serious medical need (see Doc.

   157-9; Doc. 157-11, p. 16; Doc. 157-12, pp. 12–13). See also Zirko v. Parthasarathi Ghosh, M.D.,

   No. 10 C 08135, 2015 WL 6447768, at *11 (N.D. Ill. Oct. 26, 2015) (finding herniated disc that

   caused intense, radiating pain throughout plaintiff’s lower back and legs and caused numbness and

   tingling sensations in his right leg was a serious medical condition); Perez v. Sullivan, No. 01-C-

   519-C, 2002 WL 32362248, at *4 (W.D. Wis. Apr. 30, 2002), aff'd, 52 Fed. Appx. 275 (7th Cir.

   2002) (“Unquestionably, a spinal injury [consisting of a herniated disc and pinched nerve] is a

   serious medical condition that carries a risk of grave and permanent impairment.”)

          Although we will never know for certain if Armbruster was suffering from a spinal cord

   compression while he was incarcerated at SWICC because an MRI was not performed, a jury could

   still conclude Armbruster had a serious medical need based on his reported symptoms alone. Even

   a lay person would recognize that a 40-year-old man whose fingers and arms suddenly went numb,

   who repeatedly complained of excruciating pain and worsening symptoms, and who had visible

   difficulty walking and using a pencil would require a doctor’s attention.

          2. Deliberate Indifference

          A prison official exhibits deliberate indifference when they know of a serious risk to the

   prisoner’s health exists but they consciously disregard that risk. Holloway, 700 F.3d at 1073

   (citation omitted). “The standard is a subjective one: The defendant must know facts from which

   he could infer that a substantial risk of serious harm exists and he must actually draw the




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   inference.” Rasho v. Elyea, 856 F.3d 469, 476 (7th Cir. 2017) (quoting Zaya v. Sood, 836 F.3d

   800, 804 (7th Cir. 2016)). The deliberate indifference standard “requires more than negligence and

   it approaches intentional wrongdoing.” Holloway, 700 F.3d at 1073. It is “essentially a criminal

   recklessness standard, that is, ignoring a known risk.” “essentially a criminal recklessness

   standard, that is, ignoring a known risk.” McGee v. Adams, 721 F.3d 474, 481 (7th Cir. 2013)

   (citation omitted).

                  a. Dr. Shah

          Armbruster alleges Dr. Shah was deliberately indifferent to his serious medical need

   because he had notice of Armbruster’s medical needs, knew the risk of harm if Armbruster did not

   receive appropriate medical care, yet failed to provide Armbruster with any proper medical care

   or access to medical care (Doc. 123)

          “There is not one ‘proper’ way to practice medicine in prison, but rather a range of

   acceptable courses based on prevailing standards in the field.” Holloway, 700 F.3d at 1073

   (citation omitted). For that reason, a medical professional is entitled to deference in treatment

   decisions so long as they are based on professional judgment. McGee, 721 F.3d at 481 (citing Roe

   v. Elyea, 631 F.3d 843, 857 (7th Cir. 2011)). “By definition a treatment decision that is based on

   professional judgment cannot evince deliberate indifference because professional judgment

   implies a choice of what the defendant believed to be the best course of treatment.” Rasho, 856

   F.3d at 476 (quoting Zaya, 836 F.3d at 805). See also Roe, 631 F.3d 843 at 859 (“[I]t is implicit in

   the professional judgment standard itself . . . that inmate medical care decisions must be fact-based

   with respect to the particular inmate, the severity and stage of his condition, the likelihood and

   imminence of further harm and the efficacy of available treatments.”) “But deference

   does not mean that a defendant automatically escapes liability any time he invokes professional




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   judgment as the basis for a treatment decision.” Zaya, 836 F.3d at 805. “[W]here evidence exists

   that the defendant knew better than to make the medical decision that he did, then summary

   judgment is improper.” Whiting v. Wexford Health Sources, Inc., 839 F.3d 658, 662 (7th Cir. 2016)

   (quoting Petties v. Carter, 836 F.3d 722, 731 (7th Cir. 2016)).

          In determining whether medical care evidences deliberate indifference to serious medical

   needs, the court looks at the “totality of an inmate’s medical care.” Petties, 836 F.3d at 728. The

   “[f]irst, and most obvious” circumstance in which a medical professional’s actions may constitute

   deliberate indifference “is a [doctor’s] decision to ignore a request for medical assistance.” Id. at

   729. A jury can also infer deliberate indifference when “a risk from a particular course of medical

   treatment (or lack thereof) is obvious.” Id. And in cases “where unnecessary risk may be

   imperceptible to a lay person,” a jury can find deliberate indifference when there is proof that the

   medical professional’s decision was “such a substantial departure from accepted professional

   judgment, practice, or standards as to demonstrate that the person responsible did not base the

   decision on such a judgment.” Id. In other words, “no minimally competent professional would

   have so responded under those circumstances.” Roe, 631 F.3d at 860 (citing Collignon v.

   Milwaukee Cty., 163 F.3d 982, 989 (7th Cir. 1998)).

          Because the permissible bounds of competent medical judgment are not always clear, even

   among the medical community, “it can be challenging to draw a line between an acceptable

   difference of opinion . . .          and an action that reflects sub-minimal competence.”

   Petties, 836 F.3d at 729. The Seventh Circuit has identified a number of circumstances that might

   suggest deliberate indifference, including when a doctor persists in a course of treatment known

   to be ineffective; when a doctor “chooses an easier and less efficacious treatment” based on cost




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   or convenience rather than medical judgment; and an inexplicable delay in treatment which serves

   no penological interest. Id. at 730, 733.

          Here, the evidence construed in a light most favorable to Armbruster suggests that Dr. Shah

   “knew better” than to pursue the course of treatment he chose. To begin with, Dr. Shah’s own

   testimony “indicates knowledge of necessary treatment he failed to provide.” Petties, 836 F.3d at

   731. There is also expert testimony that Dr. Shah’s chosen course of treatment radically departed

   from accepted professional standards. And the medical records themselves demonstrate that Dr.

   Shah eventually stopped trying altogether to diagnose Armbruster’s condition or provide

   appropriate treatment.

          On May 14, 2014, Armbruster had an appointment with Dr. Shah at which he was walking

   abnormally and reporting pain, numbness, and tingling in his arms and fingers; weakness in his

   hand; and pain in his legs and back. Dr. Shah testified at his deposition that a patient who is

   experiencing spinal cord compression would likely have sensory and motor disturbances, such as

   pain, tingling, numbness, lack of sensation, weakness, and difficulty moving (Doc. 157-3, pp. 10,

   11). He also testified surgery is required to treat severe spinal cord compressions, and if the

   compression is not promptly addressed, the damage gets progressively worse and may be

   irreversible (Id. at pp. 19, 20, 22). Dr. Shah also testified the only way to diagnose a spinal cord

   compression is with imaging, such as an MRI (Id. at p. 18).

          This testimony makes clear he was aware of the risk of spinal cord compression when

   Armbruster showed up to his appointment on May 14th. Dr. Shah’s testimony also supports a

   reasonable inference that he knew, when a patient reports symptom like Armbruster’s, spinal cord

   compression should always be ruled out as the cause. Furthermore, all of the expert witnesses in

   this case agreed that, if a patient reported tingling, numbness, and weakness in his upper and lower




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   extremities, a physician with Dr. Shah’s training and experience would know that spinal cord

   compression was a possible cause of the symptoms and take the steps necessary to rule it out (Doc.

   157-9; Doc. 157-10, p. 9; Doc. 157-11, pp. 12–13; Doc. 157-12, p. 16).

          However, according to Dr. Shah, he did not consider spinal cord compression as the

   potential cause of Armbruster’s reported symptoms because he did not detect any objective

   neurological deficits (Doc. 157-3, p. 58, 62, 70, 76). But Dr. Shah’s explanation is suspect and a

   jury could reasonably decide not to give it any credit. For one, Dr. Shah documented in the medical

   record that he observed Armbruster’s difficulty walking, which is an objective finding of a

   neurological deficit. Additionally, there is evidence the neurological exam Dr. Shah conducted

   was deficient. In particular, Armbruster’s expert witness, Dr. Peter Brown, opined that Dr. Shah’s

   neurological exam was “woefully insufficient” given the lack of documentation that Dr. Shah

   tested Armbruster’s reflexes, sensation, or muscle strength. All of the expert witnesses agreed

   these are basic elements of a neurological exam that should have been performed given the nature

   of Armbruster’s complaints. Dr. Shah’s explanation is also undermined by Dr. Gregory Bailey’s

   testimony that it is possible to have severe spinal cord compression without any symptoms (Doc.

   157-10, pp. 9–10).

          In the opinion of Armbruster’s expert, “any minimally competent physician exercising

   medical judgment” would order an MRI, refer the patient to a neurologist or neurosurgeon, or send

   him to the emergency room for a neurological work up in order to rule out spinal cord compression

   (Doc. 157-9, p. 6). Dr. Shah did none of these things. He simply ordered ibuprofen, back exercises,

   and blood pressure monitoring. However, Armbruster’s expert and his treating neurosurgeon both

   opined the treatment ordered by Dr. Shah would not allow him to rule in or rule out spinal cord

   compression nor make a final determination as to the cause of Armbruster’s pain, numbness,




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   tingling, and weakness (Doc. 157-9, p. 6; Doc. 157-10, pp. 23, 29).

          For these reasons, a jury could find that as of May 14, 2014, Dr. Shah failed to promptly

   and properly evaluate Armbruster’s condition and his inaction substantially and unreasonably

   delayed necessary treatment, thereby acting with deliberate indifference to Armbruster’s serious

   medical needs. Conley v. Birch, 796 F.3d 742, 747, 748 (7th Cir. 2015). The same holds true for

   Armbruster’s second appointment with Dr. Shah on May 28, 2014. By that time, Armbruster’s

   symptoms had been ongoing for approximately one month and were getting worse. In fact, they

   were so bad he reported he was unable to pick up his daughter with his right arm, had difficulty

   showering and putting on clothes, and could barely walk.

          Armbruster’s expert opined that his complaints mandated a detailed neurological exam

   (Doc. 157-9, p. 7). Dr. Shah claimed that he performed a neurological exam—which included

   observing Armbruster walk, testing his reflexes, testing his sensation, and inspecting the parts of

   the body he was complaining about—but he did not find any objective indication that Armbruster

   had neurological issues (Doc. 157-3, pp. 16, 64). However, again here, a jury is entitled to give

   little or no credit to Dr. Shah on this point. Dr. Shah testified that he has no independent

   recollection of the appointments with Armbruster, which makes his treatment notes the most

   probative evidence of the what occurred at the appointment. Conley, 796 F.3d at 747. Those notes

   lack any indication whatsoever as to what was included in the neurological exam or whether it

   addressed the issues documented by Nurse Maston. The only note in the medical records says

   “Neurological exam: nonfocal” (Doc. 133-1, p. 240), which as previously discussed, is of no use

   to any third party reviewing the note. Furthermore, Dr. Shah’s stated excuse that there were no

   objective findings of a neurological issue is directly contradicted by the medical records. Nurse

   Maston and Dr. Shah both documented they personally observed Armbruster having difficulty




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   walking, and Nurse Mason also observed it took Armbruster an extraordinarily long time to write

   his name.

          In the opinion of Armbruster’s expert, the complaints documented by Nurse Maston would

   have prompted “any minimally competent physician with Dr. Shah’s training and background” to

   immediately refer Armbruster to a neurologist or neurosurgeon, to order an MRI, or send him to

   the emergency room for a neurological workup (Doc. 157-9, p. 7). But once again, Dr. Shah did

   none of these things. He only prescribed Armbruster blood pressure medications and ibuprofen

   and ordered routine blood tests. Armbruster’s expert and his treating neurosurgeon both opined

   that the tests ordered by Dr. Shah did nothing to allow him to rule in or rule out spinal cord

   compression nor make a final determination as to the cause of Armbruster’s pain, numbness,

   tingling, and weakness (Doc. 157-9, p. 6; Doc. 157-10, pp. 23, 29).

          By his fourth appointment with Dr. Shah on June 17th, the evidence supports an inference

   that Dr. Shah chose a course of treatment that he knew was ineffective for diagnosing or treating

   Armbruster’s condition. The hypertension medication Armbruster had been prescribed had not

   resolved his symptoms and diabetes had also been ruled out as the cause. As Armbruster tells it,

   he was literally begging the doctor to help him and send him to an outside physician or hospital.

   Dr. Shah, however, refused Armbruster’s request. All the doctor did was order an x-ray of

   Armbruster’s knees, which he admitted would provide no information as to the cause of the

   tingling and numbness in Armbruster’s arms (Doc. 157-3, p. 67; see also Doc. 157-9, p. 9; Doc.

   157-10, pp. 22, 29). There is no indication from the medical records that Dr. Shah even performed

   a neurological exam of any kind. In other words, Dr. Shah did nothing to address Armbruster’s

   neurological symptoms and failed to take any steps to definitively diagnose Armbruster’s

   condition.




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           By his sixth appointment on July 2nd, the evidence supports an inference that Dr. Shah

   turned a blind eye to Armbruster’s serious medical need. Armbruster’s symptoms had been

   ongoing for approximately two months and Dr. Shah admitted that he suspected Armbruster’s

   symptoms were caused by some sort of neuropathy or arthritis in his spine (Doc. 157-3, p. 69).

   However, Dr. Shah took absolutely no steps confirm or refute his suspicion. He did not order

   diagnostic testing nor did he refer Armbruster to a specialist. Dr. Shah did not provide any

   treatment whatsoever to Armbruster that day and simply instructed him to follow-up as needed.

   Dr. Shah thus chose to ignore Armbruster’s persistent reports of severe, progressively worsening

   symptoms and gave up trying to investigate, diagnose, or treat Armbruster’s condition, leaving

   him to suffer until his release from SWICC.

           For these reasons, a reasonable jury could conclude that Dr. Shah was deliberately

   indifferent to Armbruster’s serious medical need and Dr. Shah is not entitled to summary

   judgment.

                  b. Nurse Wilford

           Armbruster alleges Nurse Wilford was deliberately indifferent because she did not

   document his complaints about pain, numbness, and weakness, or do anything to help him (Doc.

   123, p. 4).

           It is undisputed that Armbruster first complained to Nurse Wilford about his symptoms at

   a sick call on May 13, 2014. It is also undisputed that Nurse Wilford immediately referred him to

   the doctor and he was seen by Dr. Shah the next day. Nurse Wilford argues that her actions in May

   13th were appropriate, and she was not deliberately indifferent (Doc. 133, pp. 29–30). Armbruster

   does not appear to dispute this argument (see Doc. 157, pp. 40–42). He instead takes issue with

   Nurse Wilford’s inaction on all occasions following the sick call encounter on May 13th (see id.).




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          According to Nurse Wilford, the reason she did not document any complaints or take any

   action was because Armbruster never complained to her about his neurological symptoms

   following the sick call encounter on May 13th (Doc. 162, pp. 5–6). But a reasonable jury could

   conclude otherwise. First and foremost, Nurse Wilford changed her story. As outlined above in

   the Factual Background, Nurse Wilford initially testified that Armbruster persistently complained

   to her approximately once a week about his symptoms. Her initial story is consistent with

   Armbruster’s own testimony that he frequently complained to medical personnel about his

   symptoms. Armbruster also testified that some of his problems, like the difficulty he had walking,

   were obvious to anyone who saw him.

          The medical records also tend to suggest that Nurse Wilford was aware of Armbruster’s

   complaints. Following the sick call visit on May 13th, Nurse Wilford saw Armbruster on nine

   more occasions over the course of the next four months (from May 14 to September 15, 2014).

   During that same time frame, other nurses and Dr. Shah documented complaints of pain or

   neurological symptoms in Armbruster’s chart on no less than nine occasions (see Doc. 133-1, pp.

   231–51). That means Armbruster’s reported symptoms were documented all over his chart—the

   same chart Nurse Wilford reviewed and took notes in when she saw Armbruster, which makes it

   seemingly implausible that Nurse Wilford was unaware of Armbruster’s complaints.

   Consequently, a genuine issue of material fact exists as to whether Nurse Wilford was aware of

   Armbruster’s serious medical condition.

          Nurse Wilford next argues that even assuming she knew about Armbruster’s condition, her

   failure to document his complaints and take action still did not amount to deliberate indifference

   (Doc. 133, p. 29; Doc. 162, p. 6). She points out that he was always referred to Dr. Shah and

   remained under his care, and there is nothing else she could have done for Armbruster’s complaints




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   (Doc. 133, p. 29; Doc. 162, p. 6). But that is simply not true. “Although a medical care system

   requires nurses to defer to treating physicians' instructions and orders in most situations, that

   deference may not be blind or unthinking, particularly if it is apparent that the physician's order

   will likely harm the patient.” Berry v. Peterman, 604 F.3d 435, 443 (7th Cir. 2010). “[A] nurse

   confronted with an inappropriate or questionable practice should not simply defer to that practice,

   but rather has a professional obligation to the patient to take appropriate action,” for example, by

   discussing the nurse's concerns with the treating physician or by contacting an administrator. Id.

   (citation and internal quotation marks omitted). While Nurse Wilford testified she did not believe

   Armbruster needed any additional medical attention beyond what Dr. Shah was providing, a jury

   reasonably could disbelieve her. Considering the facts in the light most favorable to Armbruster

   and drawing all inferences in his favor, a jury might reasonably conclude that Nurse Wilford

   repeatedly encountered Armbruster in severe pain and complaining that his arm was numb, that

   he was having trouble walking, and that he needed help beyond what Dr. Shah was providing, but

   Nurse Wilford did, literally, nothing about it. “‘A delay in treatment may show deliberate

   indifference if it exacerbated the inmate’s injury or unnecessarily prolonged his pain,’ and ‘even

   brief, unexplained delays in treatment may constitute deliberate indifference.’” Lewis v. McLean,

   864 F.3d 556, 563 (7th Cir. 2017) (quoting Perez v. Fenoglio, 792 F.3d 768, 777–78 (7th Cir.

   2015)) (emphasis in original).

          Consequently, a reasonable jury could conclude that Nurse Wilford acted with deliberate

   indifference to Armbruster’s serious medical needs and she is not entitled to summary judgment

   on his claim of deliberate indifference.

                  c. Wexford

          Wexford is a private corporation that has contracted to provide essential government




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   services, namely to provide medical care to prisoners in IDOC custody, and can thus be held liable

   under § 1983 for constitutional violations based on the Monell theory of municipal liability. Shields

   v. Illinois Dep't of Corr., 746 F.3d 782, 790 (7th Cir. 2014)). Under Monell, Wexford cannot be

   held vicariously liable for the actions of its agents or employees in violating an individual’s

   constitutional right. Id. at 789 (“Respondeat superior liability does not apply to private

   corporations under § 1983.”). Wexford can be held liable only for its own constitutional violations.

   Id. “The critical question under Monell remains this: is the action about which the plaintiff is

   complaining one of the institution itself, or is it merely one undertaken by a subordinate actor?”

   Glisson v. Indiana Dep't of Corr., 849 F.3d 372, 381 (7th Cir. 2017) (en banc). An action is one

   of the “institution itself,” when the constitutional injury was caused by (1) an official policy

   adopted and promulgated by its employees, (2) a practice or custom that, although not officially

   authorized, is widespread and well-settled; or (3) an official with final policy-making authority.

   Glisson, 849 F.3d at 381. Accord Thomas v. Cook Cnty. Sheriff’s Dep’t, 604 F.3d 293, 303 (7th

   Cir. 2009).

          Here, Armbruster argues his constitutional injuries were the byproduct of an unlawful

   widespread custom and action by an official with policy-making authority (Doc. 157, pp. 42–43).

                      i. Widespread custom

          Monell claims based on a widespread practice require proof of “a series of violations.”

   J.K.J. v. Polk Cty., No. 18-1498, 2019 WL 2610999, at *9 (7th Cir. June 26, 2019) (quoting Palmer

   v. Marion Cty., 327 F.3d 588, 596 (7th Cir. 2003)). “[P]roof of isolated acts of misconduct will

   not suffice.” J.K.J., 2019 WL 2610999, at *9 (quoting Palmer, 327 F.3d at 596). See also Thomas,

   604 F.3d at 303 (“[T]he plaintiff must demonstrate that there is a policy at issue rather than a

   random event.”). But beyond saying that “a series of violations” is necessary, there are no “bright-




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   line rules” or “clear consensus as to how frequently such conduct must occur to

   impose Monell liability[.]“ Davis v. Carter, 452 F.3d 686, 694 (7th Cir. 2006) (quoting Cosby v.

   Ward, 843 F.2d 967, 983 (7th Cir. 1988)).

          Here, Armbruster has produced grievance records from January to September 2014,

   showing that ten other prisoners also complained that Dr. Shah provided them with inadequate

   medical care for their serious medical needs (Doc. 157-21). Three of the grievances concern back

   injuries (Id. at pp. 2–11). And according to Armbruster, four of the grievances contain allegations

   “that they, like Armbruster, were denied medical care based on their upcoming dates of release”

   (Doc. 157, pp. 43–44).

          To the extent Armbruster is alleging there was a practice at SWICC of denying medical

   treatment to inmates who were set to be released in the near future, none of the four grievances he

   cited to actually supports that claim. In the first of the four grievances, which was filed on March

   9, 2014, the inmate indicates he suffered a back injury on February 13, 2014, which caused pain

   in his lower back and all the way down his left leg (Doc. 157-21, pp. 8–10). He further states he

   saw Dr. Shah three times in three weeks and Dr. Shah did nothing but give him Motrin (Id.). The

   inmate goes on to say: “I will be released on 5-1-14 and will be seen by my family physician to

   discuss further medical treatment which could result in legal action being taken.” (Doc. 157-21,

   pp. 9–10). While it is true the prisoner mentioned his release date, it was to essentially to warn the

   prison it might be subject to litigation. He did not say anything from which it can be reasonably

   inferred that he mentioned his release date because he believed Dr. Shah was acting pursuant to a

   practice of denying medical care to inmates with impending release dates. Consequently, this

   grievance fails to lend any support to Armbruster’s claim.

          The other three grievances that mention release dates concern treatment for hepatitis C




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   (Doc. 157-21, pp. 25–34). In responding to two of those grievances, prison officials explicitly

   stated the inmates did not meet the “length of stay” criteria for receiving treatment for hepatitis C.

   In other words, there is an official protocol that dictates an inmate must have a certain amount of

   time remaining on his sentence to receive testing and treatment for hepatitis C (Doc. 157-21, pp.

   25–31). See, e.g., Roe v. Elyea, 631 F.3d 843, 850 (7th Cir. 2011) (describing IDOC medical

   director’s testimony that under the IDOC’s policy for hepatitis C, treatment was only provided to

   inmates who could complete a course of treatment while still incarcerated). In the third grievance

   concerning hepatitis C, the inmate mentioned in the grievance that he had twenty-two months left

   in [his] sentence” (see Doc. 157-21, pp. 32–34), presumably to demonstrate that he had sufficient

   time left on his sentence to receive treatment. In the response to that grievance, prison officials

   indicated the inmate was denied treatment because “certain criteria were not met,” but they did not

   specifically identify those criteria (Id.). Perhaps it was his length of stay, perhaps it was not. Either

   way, he was denied treatment because he failed to meet specific criteria outlined in the official

   protocol for inmates with hepatitis C.

           Armbruster, on the other hand, had a back injury, not hepatitis C. There is no indication

   there is a written protocol for treating back injuries that specifies the time left on a prisoner’s

   sentence determines whether they are eligible for treatment. Simply put, the circumstances of the

   inmates with hepatitis C who were denied treatment are materially different than Armbruster’s

   circumstances, and thus their grievances fail to lend any support to Armbruster’s claim.

   Accordingly, Armbruster failed to put forth evidence sufficient to create a material issue of fact

   and no reasonable jury could conclude there was a widespread and well-settled practice at SWICC

   of denying medical treatment to inmates with impending release dates.

           That leaves Armbruster’s claim that there was a general practice at SWICC of denying




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   adequate medical care to inmates suffering from all manner of serious medical conditions. The

   only evidence he puts forth to support this claim is the grievance records of the ten other inmates.

   Armbruster asserts that two district court cases from the Northern District of Illinois “establish that

   a handful of other allegations of deficient care—even when those allegations concern medical

   conditions not identical to the one at issue in the case—is sufficient to survive summary judgment

   on a Monell claim against a prison medical care provider.” (Doc. 157, p. 44) (citing Piercy v.

   Warkins, 2017 WL 1477959, at *12-13 (N.D. Ill. Apr. 25, 2017); Awalt v. Marketti, 74 F. Supp.

   3d 909, 939 (N.D. Ill. 2014)). He further asserts that because his evidence “is as substantial, and

   in many respects more substantial, than the evidence provided by the plaintiffs in Awalt and Piercy,

   this Court should deny Wexford’s request for summary judgment” (Doc. 157, p. 44).

          The Court’s own review of Awalt and Piercy cases, however, strongly suggests that

   Armbruster’s argument is off-base. The plaintiffs in Awalt and Piercy had evidence that went far

   beyond a collection of grievances from other prisoners, like Armbruster has proffered. In Awalt,

   the plaintiff hired a physician as an expert witness, who reviewed all inmate and medical files

   produced by the defendants. Awalt v. Marketti, 74 F. Supp. 3d 909, 925, 938–39 (N.D. Ill.

   2014), supplemented, 75 F. Supp. 3d 777 (N.D. Ill. 2014). The expert identified 24 detainees

   booked at the Jail within the three months leading up to and including the plaintiff’s incarceration

   who identified a medical issue at intake. Id. After reviewing the medical records of those inmates,

   the expert opined that seven of the detainees, or 29%, were denied timely access to care or received

   care that fell far below the standard. Id. The expert further opined that in his experience, this rate

   of failure suggested there was a systemic failure to provide medical care at the Jail. Id.

          The plaintiff in Piercy also retained an expert physician, who reviewed the medical records

   of 455 inmates at the jail. Piercy v. Warkins, No. 14 CV 7398, 2017 WL 1477959, at *4 (N.D. Ill.




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   Apr. 25, 2017). He opined that the medical records of 107 of those inmates “showed clear evidence

   of inadequate medical care or no medical care at all.” Id. He also reviewed sworn statements from

   twenty inmates and opined that thirteen of them received inadequate medical care. Id. The court

   concluded that the expert had identified enough deficiencies in the medical care at the jail that a

   reasonable jury could conclude there was a widespread practice of ignoring inmates' medical

   problems and providing substandard care. Id. at *12–13. See also Thomas v. Cook Cty. Sheriff's

   Dep't, 604 F.3d 293, 303 (7th Cir. 2010) (affirming verdict against Cook County where there was

   evidence of a widespread practice of failing to review inmates’ medical requests, including the

   sworn testimony of a number of inmates, correctional officers, low-level employees of the

   healthcare services provider in the jail, and upper-level management of the healthcare services

   provider); Davis v. Carter, 452 F.3d 686, 695 (7th Cir. 2006) (reversing summary judgment and

   holding plaintiff had provided sufficient evidence of a widespread practice of failing to provide

   timely methadone treatment where he pointed to the delay in his own case, testimony from a

   pharmacist about delays inherent in the methadone verification procedures, and testimony from

   two jail employees about widespread delays that they witnessed)

          Here, in contrast, Armbruster is relying solely on grievances of other inmates. The

   grievances are, at best, a collection of self-assessments from prisoners, who are not qualified

   medical professionals, that they received inadequate medical care. Unlike the plaintiffs in Awalt

   and Piercy, Armbruster has not offered any competent evidence regarding the quality of the

   medical care these ten other inmates received. See Pearson v. Prison Health Serv., 850 F.3d 526,

   536 (3d Cir. 2017) (“Based upon these observations, we think that medical expert testimony may

   be necessary to establish deliberate indifference in an adequacy of care claim where, as laymen,

   the jury would not be in a position to determine that the particular treatment or diagnosis fell below




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   a professional standard of care.”); Whiting v. Wexford Health Sources, Inc., 839 F.3d 658, 662-63

   (7th Cir. 2016) (affirming district court’s grant of summary judgment for the defendant when “no

   expert testified that [defendant’s] chosen course of treatment was a substantial departure from

   accepted medical judgment, and the decision was not so obviously wrong that a layperson could

   draw the required inference about the doctor’s state of mind without expert testimony.”).

              Even if the Court assumes these ten other inmates did, in fact, receive inadequate medical

   care, Armbruster has not put forth evidence sufficient to establish it was due to a widespread

   practice. The Seventh Circuit has emphasized “that the word ‘widespread’ must be taken

   seriously.” Phelan v. Cook Cty., 463 F.3d 773, 790 (7th Cir. 2006), overruled on other grounds

   by Ortiz v. Werner Enterprises, Inc., 834 F.3d 760 (7th Cir. 2016). “It is not enough to demonstrate

   that policymakers could, or even should, have been aware of the unlawful activity because it

   occurred more than once.” Phelan, 463 F.3d at 790. “The plaintiff must introduce evidence

   demonstrating that the unlawful practice was so pervasive that acquiescence on the part of

   policymakers was apparent and amounted to a policy decision.” Id.

              If Armbruster’s evidence is credited, there were eleven instances of inadequate medical

   care over the course of nine months, including his own (January to September 2014). But there is

   no evidence as to how many inmates were at SWICC during the relevant time period, or how many

   of them sought medical care. Without those numbers to provide some context, the Court cannot

   infer that eleven instances of inadequate medical care constitutes a widespread practice or systemic

   failure.

              Accordingly, Wexford is entitled to summary judgment on Armbruster’s claim of

   deliberate indifference based on a widespread practice.




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                      ii. Actions of an official with policy-making authority

          Armbruster alleges that Dr. Shah had final policy-making authority regarding submission

   or denial of consultation requests at SWICC (Doc. 157, pp. 44–45).

          “It is well-established that when a particular course of action is directed by those who set

   municipal policy, the municipality is responsible under section 1983, even if the action in question

   is undertaken only once.” Valentino v. Vill. of S. Chicago Heights, 575 F.3d 664, 675 (7th Cir.

   2009) (citing Pembaur v. City of Cincinnati, 475 U.S. 469, 480–81 (1986)). But just because an

   individual is the decisionmaker on a particular issue does not necessarily make him the

   policymaker on that issue. Valentino, 575 F.3d at 675. “Not every municipal official with

   discretion is a final policymaker; authority to make final policy in a given area requires more than

   mere discretion to act.” Milestone v. City of Monroe, Wis., 665 F.3d 774, 780 (7th Cir. 2011). It

   requires delegation to the individual by the municipality to make policy on its behalf in a particular

   area or on a particular issue. Ball v. City of Indianapolis, 760 F.3d 636, 643 (7th Cir. 2014);

   Valentino, 575 F.3d at 675. See also Kristofek v. Vill. of Orland Hills, 712 F.3d 979, 987 (7th Cir.

   2013) (“[T]he mere unreviewed discretion to make hiring and firing decisions does not amount to

   policymaking authority. There must be a delegation of authority to set policy for hiring and firing,

   not a delegation of only the final authority to hire and fire.”)

          The Seventh Circuit has identified a number of factors that can shed light on whether an

   official is a final policymaker, including (1) relevant laws, ordinances, rules and regulations, and

   operational practices; (2) whether the official’s decisionmaking is constrained by policies of other

   officials or legislative bodies; (3) whether his decisions are subject to review by a higher official

   or other authority; and (4) “whether the policy decision purportedly made by the official is within

   the realm of the official's grant of authority.” Milestone, 665 F.3d at 780; Valentino, 575 F.3d at




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   675.

          Here, it is clear Dr. Shah was the decisionmaker when it came to deciding whether to

   submit an off-site referral request for an inmate. But it is also clear he is not the policymaker. The

   deposition of Wexford’s corporate representative made clear Dr. Shah was, at best, a mid-level

   employee in the Wexford corporate hierarchy. He was subject to supervision by the regional

   medical director. The corporate representative deposition also revealed there were myriad

   corporate policies, procedures, and expectations that Dr. Shah was expected to follow in providing

   medical care to inmates at SWICC. There is no indication Dr. Shah had any part in drafting these

   policies or that Wexford delegated any authority to Dr. Shah to make policies on behalf of the

   corporation. By all appearances, the policies were drafted by individuals much higher in the

   corporate hierarchy than a facility medical director.

          When it came to deciding whether to request an off-site referral, Dr. Shah’s decisions were

   guided, at least in part, by those corporate policies and procedures as well as the ongoing training

   and education provided to him by the corporation. If he determined an off-site referral was

   warranted, he did not have the power to simply arrange that appointment. Instead, his decision had

   to be reviewed and approved by Utilization Management. On the other hand, when he determined

   an off-site referral was not warranted, that decision was not automatically subject to review by

   Utilization Management. However, there were other opportunities for review, at least to some

   extent. The prisoner could file a grievance, in which case the doctor’s decision would be reviewed

   by the Healthcare Unit Administrator and/or other prison officials. A member of the healthcare

   staff could also contact the Regional Medical Director and ask him to review the decision. But

   even if Dr. Shah’s decision not to request an off-site referral was completely unreviewed, that fact

   alone does not render him a policymaker. See Ball, 760 F.3d at 643 (“But simply because a




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   municipal employee has decisionmaking authority, even unreviewed authority, with respect to a

   particular matter does not render him a policymaker as to that matter.”); Kristofek, 712 F.3d at 987

   (“[T]he mere unreviewed discretion to make hiring and firing decisions does not amount to

   policymaking authority. There must be a delegation of authority to set policy for hiring and firing,

   not a delegation of only the final authority to hire and fire.”).

           There is simply no evidence from which a reasonable jury could find that Dr. Shah makes

   final policy for Wexford. Instead, the evidence shows Dr. Shah was tasked with guiding the

   medical care provided at SWICC pursuant to the policies set by Wexford. Accordingly, Wexford

   is entitled to summary judgment on Armbruster’s claim that his constitutional injury was caused

   by an official with final policymaking authority.

   C. FAILURE TO INTERVENE AGAINST DR. SHAH, NURSE WILFORD, AND WEXFORD (COUNT 2)

           Armbruster alleges that Dr. Shah, Nurse Wilford, and Wexford failed to intervene to ensure

   that he received adequate medical care (Doc. 123, pp. 13–14). In order to prevail on this claim,

   Armbruster must show that Defendants knew he was receiving constitutionally deficient medical

   care and had a realistic opportunity to prevent the harm from occurring but failed to do so. Gill v.

   City of Milwaukee, 850 F.3d 335, 342 (7th Cir. 2017) (citing Yang v. Hardin, 37 F.3d 282, 285

   (7th Cir. 1994)).

           Armbruster concedes that summary judgment is appropriate as to Dr. Shah and Wexford

   on his claim for failure to intervene (Doc. 157, p. 49). Accordingly, the motion for summary

   judgment will be granted for these Defendants on this claim.

           Armbruster, however, argues that Nurse Wilford is not entitled to summary judgment on

   his claim for failure to intervene (Doc. 157, pp. 50–51). The Court agrees. As previously discussed

   above, considering the facts in the light most favorable to Armbruster and drawing all inferences




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   in his favor, a jury might reasonably conclude that Nurse Wilford repeatedly encountered

   Armbruster in severe pain and complaining that his arm was numb, that he was having trouble

   walking, and that he needed help beyond what Dr. Shah was providing. It was also clear, even to

   a lay person, that Dr. Shah’s course of treatment was blatantly inappropriate. Yet, Nurse Wilford

   did not take any action to address Armbruster’s untreated medical needs, including confronting

   Dr. Shah or raising the issue with her supervisors.

           Accordingly, Nurse Wilford is not entitled to summary judgment on Armbruster’s claim

   of failure to intervene.

   D. MEDICAL MALPRACTICE AGAINST DR. SHAH                AND   WEXFORD (COUNT 3) & RESPONDEAT
      SUPERIOR AGAINST WEXFORD (COUNT 4)

           Armbruster brought state law medical malpractice claims against Defendant Shah for

   professional negligence and against Wexford for institutional negligence in Count 3. Armbruster

   also brought a medical malpractice claim against Wexford based on respondeat superior liability

   in Count 4.

           Defendants primarily argue they are entitled to summary judgment on Armbruster’s

   medical malpractice claim because the affidavit and report from Dr. Gregory Bailey that

   Armbruster attached to his Third Amended Complaint does not comply with 735 ILL. COMP. STAT.

   5/2- 622(a) (Doc. 133, pp. 33–35). That statute requires medical malpractice claims to be supported

   by an affidavit from the plaintiff’s attorney and a written report from a qualified, licensed physician

   who has reviewed the case and determined “there is a reasonable and meritorious cause for the

   filing of such action.” 735 ILL. COMP. STAT. 5/2- 622(a).

           After Defendants filed their motion for summary judgment, however, District Judge

   Michael Reagan allowed Armbruster to add the report of his retained expert witness Dr. Peter

   Brown to his Third Amended Complaint in order to bring himself into compliance with section 2-



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   622(a) (Doc. 198). See also Hahn v. Walsh, 762 F.3d 617, 634 (7th Cir. 2014) (quoting Cammon

   v. W. Suburban Hosp. Med. Ctr., 704 N.E.2d 731, 738–39 (Ill. App. Ct. 1998)). (“Section 2–622

   is a pleading requirement designed to reduce frivolous lawsuits, not a substantive defense which

   may be employed to bar plaintiffs who fail to meet its terms.”) Therefore, this argument is now

   moot.

           The only other argument Defendants made in their motion for summary judgment is a very

   cursory, three-sentence argument that there is no evidence the care provided (or not provided) by

   Dr. Shah or Wexford was the proximate cause of any alleged injury and therefore summary

   judgment should be granted in their favor (Doc. 133, p. 35). This argument is a non-starter. Under

   Illinois law, one of the elements a plaintiff must show in order to prove a claim of medical

   malpractice is that an injury was proximately caused by the defendant’s negligent deviation from

   the standard of care. Sullivan v. Edward Hosp., 806 N.E.2d 645, 653 (Ill. 2004) (citing Purtill v.

   Hess, 489 N.E.2d 867, 872 (Ill. 1986)). Proximate cause defined as “a cause that, in the natural or

   ordinary course of events, produced the plaintiff’s injury.” Illinois Pattern Jury Instruction, Civil,

   No. 15. Here, there is evidence if significant spinal cord compression is not addressed promptly,

   the damage to the spinal cord may be irreversible. There is also evidence from which a reasonable

   jury could conclude that Armbruster’s compression was not addressed for a number of months.

   Armbruster testified at his deposition he continued to suffer from numbness, tingling, weakness,

   and pain in his arms and legs three years after his spinal decompression surgery. And Armbruster’s

   expert witness opined that if Armbruster’s spinal cord compression had been diagnosed and treated

   promptly, his outcome “would likely have been better than it is now” (Doc. 157-9, p. 11). This

   evidence is sufficient to establish a genuine issue of material fact as to whether Armbruster’s injury

   was proximately caused by the Defendants’ medical negligence.




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          Accordingly, Dr. Shah and Wexford are not entitled to summary judgment on Armbruster’s

   claim of medical malpractice.

                                               CONCLUSION

          It is RECOMMENDED that Defendants’ motion for summary judgment (Doc. 132)

   should be GRANTED IN PART AND DENIED IN PART.

          It should be GRANTED as to Wexford Health Sources, Inc. on Count 1 for deliberate

   indifference. It should also be GRANTED, per Armbruster’s concession, as to Dr. Bharat Shah

   and Wexford Health Sources, Inc. on Count 2 for failure to intervene.

          It should be DENIED as to Dr. Bharat Shah and Nurse Loretta Wilford on Count 1 for

   deliberate indifference. It should be DENIED as to Nurse Loretta Wilford on Count 2 for failure

   to intervene. It should also be DENIED as to Dr. Bharat Shah and Wexford Health Sources, Inc.

   on Count 3 for medical malpractice.

          This matter should proceed to trial on the following claims against the following

   Defendants:

          Count 1:    Eighth Amendment claim for deliberate indifference to a serious
                      medical need against Defendants Dr. Shah and Nurse Wilford;

          Count 2:    Eighth Amendment claim for failure to intervene against Defendant
                      Nurse Wilford;

          Count 3:    Medical negligence under Illinois state law against Wexford and Dr.
                      Shah; and

          Count 4:    Respondeat Superior against Wexford.

          Pursuant to 28 U.S.C. § 636(b)(1) and SDIL-LR 73.1(b), OBJECTIONS to this Report

   and Recommendation/Proposed Findings of Fact and Conclusions of Law are due fourteen (14)

   days after service (see attached Notice).




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         DATED: July 23, 2019
                                             s/ Mark A. Beatty
                                             MARK A. BEATTY
                                             United States Magistrate Judge




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